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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

     In re:                                       Chapter 7

     Mack Industries Ltd., et al.,                Bankruptcy No. 17-09308
                                                  (Jointly Administered)
                             Debtors.1
                                                  Honorable Carol A. Doyle

     Ronald R. Peterson, as chapter 7
     trustee for Mack Industries Ltd.,

                             Plaintiff,

     v.                                           Adversary No. 19-00522

     TTS Granite Inc.,

                             Defendant.


                                      NOTICE OF APPEAL

                             PART 1: IDENTIFY THE APPELLANT(S)

          1.     Name(s) of appellant(s): Ronald R. Peterson, as chapter 7 trustee for
Mack Industries Ltd.




1The debtors, with their respective bankruptcy case numbers, are as follows: Mack
Industries, Ltd. (17-09308); Oak Park Avenue Realty, Ltd. (17-16651); Mack
Industries II, LLC (17-16859); Mack Industries III, LLC (17-17106); Mack
Industries IV, LLC (17-17109); Mack Industries V, LLC (18-03445); and Mack
Industries VI, LLC (18-03451).




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       2.    Position of appellant(s) in the adversary proceeding or bankruptcy case
that is the subject of this appeal:

 For appeals in an adversary proceeding. For appeals in a bankruptcy case and
                                         not in an adversary proceeding.

  Plaintiff                                   Debtor
  Defendant                                   Creditor
  Other (describe) __________________         Trustee
                                               Other (describe) __________________


                  PART 2: IDENTIFY THE SUBJECT OF THIS APPEAL.

       1.    Describe the judgement, order, or decree appealed from: Order Granting
in Part and Denying in Part Defendant’s Motion to Dismiss (ECF No. 45).

       2.    State the date on which the judgment, order, or decree was entered:
November 10, 2020.


               PART 3: IDENTIFY THE OTHER PARTIES TO THE APPEAL.

       List the names of all parties to the judgment, order, or decree appealed from
and the names, addresses, and telephone numbers of their attorneys (attach
additional pages if necessary):
  Party: TTS Granite Inc.                Attorney: Ryan T. Schultz
                                                   Fox Swibel Levin & Carroll LLP
                                                   200 W. Madison St., Suite 3000
                                                   Chicago, IL 60606
                                                   (312) 224-1200
                                                   rschultz@foxswibel.com


 PART 4: OPTIONAL ELECTION TO HAVE APPEAL HEARD BY DISTRICT COURT
               (APPLICABLE ONLY IN CERTAIN DISTRICTS).

       If a Bankruptcy Appellate Panel is available in this judicial district, the
Bankruptcy Appellate Panel will hear this appeal unless, pursuant to 28 U.S.C.
§ 158(c)(1), a party elects to have the appeal heard by the United States District



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Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant
wishes the Bankruptcy Appellate Panel to hear the appeal
         Appellant(s) elect to have the appeal heard by the United States
        District Court rather than the Bankruptcy Appellate Panel.

                               PART 5: SIGN BELOW.

Dated: November 24, 2020                      Respectfully submitted,

                                              Ronald R. Peterson, as chapter 7
                                              trustee for Mack Industries Ltd.

                                              By: /s/ Jeffrey K. Paulsen
                                              One of His Attorneys
Jeffrey K. Paulsen (6300528)
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